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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                 v.
                                                       Crim. No. 17-201-2 (ABJ)
    RICHARD W. GATES III,

                      Defendant.

                                    JOINT STATUS REPORT

        COMES NOW, the United States of America, by and through the United States Attorney

for the District of Columbia, and the defendant through his counsel, and file this joint status report

to provide the Court with the status of this matter.

        1.       The parties previously filed a Joint Status Report on May 14, 2019. 1 To date,

defendant Gates continues to cooperate with the government as required by his Plea Agreement,

including through testimony in United States v. Craig, 19-CR-125 (ABJ), on August 22, 2019.

Another trial, United States v. Stone, 19-CR-18 (ABJ), is set to begin November 5, 2019. In the

interim, at the parties’ request, the Court ordered the Probation Office to prepare a Presentence

Investigation Report and file it by November 15, 2019. See Minute Order of 8/2/2019.

        2.       Accordingly, the parties respectfully request that they provide a joint status report

no later than November 11, 2019. A proposed Order is attached.


                                               Respectfully submitted,

                                               JESSIE K. LIU
                                               UNITED STATES ATTORNEY

                                               /s/ Fernando Campoamor-Sánchez
                                               Fernando Campoamor Sánchez (DC 451210)
                                               Molly Gaston (VA 78506)
                                               United States Attorney’s Office for D.C.

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       The government intended to file this joint status report on August 30, 2019, and regrets any
inconvenience we may have caused the Court by failing to do so.
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                   Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.


                                           ORDER

        Upon consideration of the representations made in the September 2, 2019 Joint Status

Report and for good cause shown, it is this ________ day of ____________, 2019,

        ORDERED that the parties file a joint status report by no later than November 11, 2019,

stating whether the matter should be scheduled for sentencing or whether a deadline should be set

for filing another joint status report.

        IT IS SO ORDERED.




                                                    HON. AMY BERMAN JACKSON
                                                    UNITED STATES DISTRICT JUDGE
